                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


RHONDA BURNETT, JEROD BRIET,                          )
HOLLEE ELLIS, FRANCES HARVEY,                         )
and JEREMY KEEL, on behalf of themselves              )
and all others similarly situated,                    )
                                                      )
               Plaintiffs,                            )
                                                      )
       v.                                             )       Case No. 19-CV-00332-SRB
                                                      )
THE NATIONAL ASSOCIATION OF                           )
REALTORS, REALOGY HOLDINGS CORP.,                     )
HOMESERVICES OF AMERICAN, INC., BHH                   )
AFFILIATES, LLC, HSF AFFILIATES, LLC,                 )
RE/MAX LLC, and KELLER WILLIAMS                       )
REALTY, INC.,                                         )
                                                      )
               Defendants.                            )

      JOINT MOTION TO CERTIFY FINAL SETTLEMENT APPROVAL ORDER
                        PURSUANT TO RULE 54(b)

       Plaintiffs and the Settling Defendants, Anywhere, RE/MAX and Keller Williams, jointly

request that this Court certify its Order Granting Final Settlement Approval pursuant to Rule 54(b).

Certification is appropriate here because there is no just reason to delay the practice changes relief

made available to the Class or prompt funding of the Settlements. It is also equitable to the Settling

Parties to have a resolution as soon as possible in light of the arguments made in the record and it

is efficient because settlement approval leaves no remaining issues as to these Settling Defendants.

Dated: May 9, 2024                              WILLIAMS DIRKS DAMERON LLC

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